7 F.3d 224
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.SAMUEL JONES, Plaintiff-Appellant,v.CITY OF VIRGINIA BEACH;  Meyera E. Oberndorf, or hersuccessor in interest, individually and in their officialcapacity as mayor of the City of Virginia Beach, Virginia;Charles R. Wall, individually and in his official capacityas chief of the City of Virginia Beach Police Department;G. L. Wylie, III, individually and in his official capacityas officer of the City of Virginia Beach Police Department,Defendants-Appellees.
    No. 93-6728.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 23, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.
      Samuel Jones, Appellant Pro Se.
      E.D.Va.
      AFFIRMED
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Samuel Jones filed suit under 42 U.S.C. § 1983 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Plaintiff failed to comply with the fee order.  Plaintiff appeals.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    